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                                                                               (SPACE BELOW FOR FILING STAMP ONLY)
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 4

 5
     ATTORNEYS FOR Defendant,
 6             AUGUSTINE REYNA.

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 8
                                            UNITED STATES DISTRICT COURT
 9
                                          EASTERN DISTRICT OF CALIFORNIA
10
                                                      ******
11                                                          Case No.: 1:10-cr-00173-AWI-3
12   UNITED STATES OF AMERICA,
13                                                          STIPULATED MOTION AND ORDER
                          Plaintiff,                        TO REDUCE SENTENCE PURSUANT
14                                                          TO 18 U.S.C. § 3582(c)(2)
               v.
15                                                          RETROACTIVE DRUGS-MINUS-TWO
     AUGUSTINE REYNA,                                       REDUCTION CASE
16
                          Defendant.
17                                                          Judge: Honorable ANTHONY W. ISHII
18

19             Defendant, AUGUSTINE REYNA, by and through his attorney, MARK W. COLEMAN
     of the Law Offices of NUTTALL & COLEMAN, and plaintiff, UNITED STATES OF
20
     AMERICA, by and through its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby
21
     stipulate as follows:
22
               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
23
     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
24
     based on a sentencing range that has been subsequently been lowered by the Sentencing
25
     Commission pursuant to 28 U.S.C. § 994(o);
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               2.         On February 27, 2012, this Court sentenced Mr. Reyna to a term of 108 months
27
     imprisonment;
28                                                      1

     Stipulation and Order Re: Sentence Reduction
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 1             3.         His total offense level was 29, his criminal history category was III, and the

 2   resulting guideline range was 108 to 135 months;

 3             4.         The sentencing range applicable to Mr. Reyna was subsequently lowered by the

 4   United States Sentencing Commission in Amendment 782, retroactive on July 18, 2014, see 79

 5   Fed. Reg. 44,973;
               5.         Mr. Reyna’s total offense level has been reduced from 29 to 27, and his amended
 6
     guideline range is 87 to 108 months; and,
 7
               6.         Accordingly, the parties request the Court enter the order lodged herewith
 8
     reducing Mr. Reyna’s term of imprisonment to a total term of 87 months.
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     Respectfully submitted,
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     DATED: March 5, 2015                           NUTTALL & COLEMAN
12
                                                    /s/ Mark W. Coleman
13
                                                    __________________________
14                                                  MARK W. COLEMAN
                                                    Attorney for Defendant
15                                                  AUGUSTINE REYNA

16
     DATED: March 5, 2015                           BENJAMIN B. WAGNER
17                                                  United States Attorney

18                                                  /s/ Karen Escobar
                                                    _________________________
19                                                  KAREN ESCOBAR
                                                    Assistant U.S. Attorney
20                                                  Attorney for Plaintiff
21                                                  UNITED STATES OF AMERICA

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     Stipulation and Order Re: Sentence Reduction
        Case 1:10-cr-00173-JLT Document 182 Filed 03/06/15 Page 3 of 3

 1                                                   ORDER

 2             This matter came before the Court on the stipulated motion of the defendant for reduction
 3   of sentence pursuant to 18 U.S.C. § 3582(c)(2),
 4
               The parties agree, and the Court finds, that Mr. Reyna is entitled to the benefit of
 5
     Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
 6
     guideline range of 87 to 108 months.
 7
               IT IS HEREBY ORDERED that the term of imprisonment imposed in February 2012 is
 8
     reduced to a term of 87 months, effective as of November 1, 2015.
 9
               IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10

11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above

12   reduction in sentence, an effective date of the amended judgment as November 1, 2015, and shall

13   serve certified copies of the amended judgment on the United States Bureau of Prisons and the

14   United States Probation Office.
15             Unless otherwise ordered, Mr. Sanchez shall report to the United States Probation Office
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     within seventy-two hours after his release.
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18
     IT IS SO ORDERED.
19
     Dated:       March 6, 2015
20                                                  SENIOR DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction
